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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

RAMONA THURMAN BIVINS,
Plaintiff,
V.

FELICIA FRANKLIN, in her
individual and official capacities;
ALIEKA ANDERSON, in her
individual and official capacities;
GAIL HAMBRICK, in her
individual and official capacities;
and CLAYTON COUNTY,
GEORGIA,

Defendants.

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This matter is before the Court on Defendant Felicia Franklin’s Consent

Motion to Extend the Deadline to Answer, Plead, or Otherwise Respond
to Plaintiff's Complaint. Upon consideration, and for good cause shown, the
Consent Motion is hereby GRANTED. Defendant Felicia Franklin shall have

through and including December 12, 2022 to answer, plead, or otherwise respond

ORDER

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to Plaintiff's Complaint. All defenses are hereby reserved.
SO ORDERED this 18th day of November, 2022

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WILLIAM M. RAY,
UNITED STATES DISTRICT JUDGE
